Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 1 of 60




                      Exhibit C-2
          Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 2 of 60
Embanet ULC & Washington State University                                      Master Services Agreement


                               MASTER SERVICES AGREEMENT

                                         e-Learning Program
                                                      '   ,r

                                         WSU Contract #18535

This e-Learning Program Master Services Agreement (hereinafter the "Agreement") is entered into by
and between Embanet ULC ("Embanet") and Washington State University, an institution of higher
education and agency of the state of Washington on behalf of its College of Business (the "University")
as of, and effective, this 24th day of February, 2010 ("Effective Date").

WHEREAS, Embanet is an e-Learning online educational services and solutions company that combines
educational content, technology, and marketing services to provide e-Leaming programs for higher
education and certain corporate training markets;

WHEREAS, the University is an educational institution which has content and instructional
expertise in a wide range of business disciplines and subject matter; and,

WHEREAS, the University wishes to retain Embanet to provide its College of Business with the
e-Leaming programs and services described in, and subject to, this Agreement.

NOW THEREFORE, the Parties agree as follows:


                                             ARTICLE 1
                                          INTERPRETATION


For the purposes of this Agreement, the following definitions shall apply:

                 1.1      Definitions.

        1.1.1 "Academic Director" means the representative from the University charged with
overseeing and administering the performance of the University's obligations under this Agreement, ,
including the delivery of Content to Embanet.

        1.1.2 "Agreement" means this Agreement, as amended from time to time and all Schedules and
exhibits attached hereto. Words such as "herein," "hereinafter," "hereto," and "hereunder" refer to this
Agreement as a whole, unless the context otherwise requires.

        1.1.3   "Census Date" means the student drop/add date of each e-Learning Program Course.

      1.1.4 "Chief Development Officer" means the employee of Embanet who is assigned as
Embanet's project manager for the purposes of this Agreement.

         1.1.5 "Confidential Information" means information that is identified as "confidential" either
verbally or in writing at the time of disclosure, or is of such a nature that a reasonable person would
understand such information to be confidential, including without limiting the generality of the foregoing,
business, commercial, Intellectual Property, financial, personnel, administrative strategic planning, and
student information.
           Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 3 of 60
     Embanet ULC & Washington State University                                        Master Services Agreement



              1.1.6 " "Content" means the descriptive attributes of a collection of university courses,
    'Such as course descriptions, course sequences, intended learning outcomes, and course topics,
    I that constitute an area of specialization as well as units of learning, usually defined by expected

    'outcomes, including syllabi, assignments, tests, notes, presentations, and examples created for
    'Classroom and learning programs that are used to deliver Courses.

              1.1.7 "Course" means an academic or training delivery framework developed by
      Embanet with a set of assignments and activities within an e-Learning Program developed
    'pursuant to this agreement that is designed to fulfill a particular set of learning objectives within
    I a specified period of time.




              1.1.8 "Distance-Learning" means and includes any training, learning or educational activity via
     an "online" or electronic network or similarly connected electronic medium (whether by dedicated,
    'Closed-loop, Ethernet cable, satellite, telephone (cell, mobile, or land), BPN, Internet, optical fiber,
     broadcast, wireless, or any other media or electronic communication system) where multiple users can
     use simultaneously, including, without limitation, the Internet or intranets, for the broadcast, transmission
     or distribution, now known or hereafter developed, such training, learning or educational activity
     "Distance-Learning" does not include non-electronic and other traditional education via textbook/paper
     course materials or live classroom or similar face-to-face instruction. Further, Distance-Learning does not
     include courses offered by Washington State University through its Distance and Professional Education
     Center.

              1.1.9 "Effective Date" shall mean the date on which this Agreement shall be effective as first
    )set forth in this Agreement.

            1.1.10 "e-Leaming Program" means a Distance-Learning Degree program pursuant to one or
    more e-Learning Program Term Sheets, and the associated Courses to be conducted by Embanet and the
    University pursuant to this Agreement.

              1.1.11 "e-Learning Program Term Sheet" shall mean the existing or future document that
     specifies each e-Learning Program, and the associated terms, conditions and requirements, which the
     Parties wish to undertake pursuant to this Agreement, and that includes the number of courses that they
     wish to undertake as a part of each e-Learning Program the form and content subject matter of which is
    ,more specifically set out in Schedule A.

         1.1.12 "Embanet's Intellectual Property" means all Intellectual Property that is combined or
 associated with, or incorporated into (or that is any part of) the Courses or otherwise a part of an
 e-Leaming Program, whether originally conceived, created, developed, authored, or otherwise
 owned by Embanet or by its affiliates, subsidiaries, licensors pursuant to Sections 2.2 and 2.4.1,
 including, but not limited to, e-Leaming Program delivery components, such as flash, media
 course structure, instructional design and multimedia development, and marketing materials,
;such as marketing databases, slogartS, websites and website content..

             1.1.13 "Enhancements" shall mean changes or additions, other than Maintenance Modification,
    to an e-Learning Program, Courses and related Documentation, including all new releases, that seek to
    further develop or improve an e-Learning Program.

           1.1.14 "Faculty" means the University employees who shall instruct, teach, and directly
I   administer each Course.



                                                     Page 2 of22
          Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 4 of 60
Embanet ULC & Washington State University                                         Master Services Agreement


         1.1.15 " Gross Receipts" means .the gross tuition amounts that are collected from all student
enrollments in the e-Learning Program and Courses, less the following amounts incurred by the
University or Embanet or their affiliates with respect to such e-Learning Program and Courses: (a) trade,
cash and quantity discounts or rebates actually allowed or taken; (b) credits or allowances given or made
for rejection of, and for uncollectible amounts with respect to the e-Leaming Program and Courses; (c)
credit card fees paid to non-affiliates; (d) any taxes that are levied on the provision or performance of the
e-Learning Program (including any tax such as value added of similar tax or government charge); and, (e)
amounts payable to students who have been permitted to withdraw from Courses. Tuition amounts
received from students enrolled in an e-Learning Program due to the University's efforts or agreements
with business partners and paid at the student referral rate shall be excluded from "Gross Receipts",
however, Embanet shall be entitled to compensation for its services related to such students in accordance
with the applicable e-Leaming Program term sheet.

         1.1.16 "Intellectual Property" shall mean and include: (i) all trademark rights, logos, trade dress,
service marks, trade names and brand names, all registrations and applications thereof and all goodwill
associated with the foregoing; (ii) all copyrights, copyright registrations and copyright applications, and
all other rights associated with the foregoing and the underlying works of authorship; , including moral
rights and all similar rights to protect or preserve the integrity of a work or to be associated as the author
of a work; (iii) all Patent Rights, patents and patent applications, and all international proprietary rights
associated therewith; (iv) all industrial designs, integrated circuit topographies, mask works and mask
work registrations; and, (v) all improvements, Enhancements, inventions, so-called "look & feel", graphic
design elements, graphic user interface, order of operations, order of Content presentment and related
configuration, ideas, concepts, know-how, discoveries, improvements, designs, trade secrets, shop and
royalty rights.

         1.1.17 "Maintenance Modifications" shall mean any modifications or revisions, other than
Enhancements, to an e-Leaming Program, Courses, Content or Documentation that correct errors, rectifY
omissions, support new releases of an e-Learning Program or provide other incidental updates and
corrections.

         1.1.18 "Parties" or individually, "Party" shall mean the entities entering into this Agreement, and
their successors and permitted assigns.

         1.1.19 "Patent Rights" means the rights and interests in and to issued patents and pending patent
applications (which for purposes of this Agreement shall be deemed to include certificates of inventions
and application for certificates of invention and priority rights) in any country, including all provisional
applications, substitutions, continuations-in-part, divisions, and renewals, all letters patent granted
thereon, and all reissues, reexaminations and extensions thereof and all supplementary protection
certificates, whether owned or licensed by or to a Party.

        1.1.20 "Subject Matter Expert(s)" means individuals selected by the University who are experts
in the subject matter of a Course or e-Leaming Program, and who develop Content/provide multimedia
ideas on his/her subject of expertise for incorporation into either such Courses or e-Leaming Program.

         1.1.21 "Teaching Aids" means all web enhanced, multi-media technology and software used for
the delivery and support of curriculum.

        1.1.22 "Term" means the term of this Agreement as set forth in Article 8.1 hereof.

        1.1.23 "Territory" means United States of America.




                                                 Page 3 of22
          Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 5 of 60
    Embanet ULC & Washington State University                                       Master Services Agreement


            1.1.24 "University's Intellectual Property" means all Intellectual Property (as defined in
    subsection 1.1.15) and derivative works therefrom, including the Content provided by University,
    whether used or otherwise included in any Course developed by Embanet or by its affiliates, but not
    including Intellectual Property of a third party which is included in the Content subject to a license
    executed between University and the third party.

                     1.2     Headings.

            The division of this Agreement into Articles, Sections and Schedules and the insertion of
    headings are for convenience of reference only and shall not affect the construction or interpretation of
    this Agreement. Except as expressly set out herein, references to an Article, Section or Schedule refer to
    the applicable Article, Section or Schedule to the main body of this Agreement and not to any Article,
    Section or any Schedule to this Agreement.

                     1.3     Meaning of Terms.

            The Parties agree to the following interpretive terms and conditions:

           (i)      words importing the singular number include the plural and vice versa and words
                    importing gender include all genders in this Agreement;

           (ii)     reference to any agreement, indenture or other instrument in wntmg means such
                    agreement, indenture or other instrument in writing as amended, modified, replaced or
                    supplemented from time to time, unless otherwise agreed to herein;

           (iii)    reference to any statute or regulation or bylaw shall be deemed to be a reference to such
                    statute or regulation or bylaw as amended, re-enacted or replaced from time to time,
                    unless otherwise agreed to herein;

           (iv)     time periods within which a payment is to be made or any other action is to be taken
                    hereunder shall be calculated excluding the day on which the period commences, but
                    including the day on which the period ends; and,

           (v)      whenever any payment to be made or action to be taken hereunder is required to be made
                    or taken on a day other than a business day, such payment shall be made or action taken
                    on the next following business day.

                     1.4     Entire Agreement.

           This Agreement, together with the Schedules, sets forth the entire agreement and understanding
    between the Parties and supersedes all prior agreements, conditions, warranties, representations,
    arrangements and communications, whether oral or written, with respect to the subject matter of this
    Agreement.

                     1.5     Implied Terms.

          No implied representations, warranties, covenants, terms or obligations of any kind by, or on
  behalf of, either Embanet or the University shall arise from anything in this Agreement and only the
  express terms and conditions contained in this Agreement shall be binding upon Embanet and the
; University.
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                                                   Page 4 of22
          Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 6 of 60
Embanet ULC & Washington State University                                       Master Services Agreement


                  1.6     No Waiver.

         No waiver ofor consent to depart from the requirements of any provision of this Agreement shall
be binding against either Party unless it is in writing and is signed by the Party giving it. Such waiver or ·
consent shall be effective only in the specific instance and for the specific purpose for which it has been
given and shall not be deemed or constitute a waiver of any other provisions (whether or not similar) nor
shall such waiver constitute a continuing waiver unless otherwise expressly provided. Notwithstanding
Section 1.7, no failure on the part of either Party to exercise, and no delay in exercising, any right under
this Agreement shall operate as a waiver of such right. No single or partial exercise of any such right
shall preclude any other or further exercise of such right or the exercise of any other right.

                  1.7     Time of the Essence.

       The University's and Embanet's time obligations herein shall be of the essence in the
performance of any obligation or duty to the extent any time requirements are specifically set out in this
Agreement.

                 1.8      Currency.

        All dollar amounts in this Agreement are expressed in the case of the United States of America.

                 1.9      Illegal Provisions.

         If any covenant or provision contained in this Agreement is determined to be illegal, void or
unenforceable in whole or in part, it shall not be deemed to affect or impair the validity of any other
covenant or provision and such illegal, void or unenforceable covenant or provision shall be modified, I
amended and/or changed in such a manner as to maintain the integrity of the Agreement and the Parties
intent as evidenced hereby.                                                                             ·

                 1.10     Schedules.

        The following schedules are attached to and form part of this Agreement:

        Schedule A - e-Learning Program Term Sheet #I -                  Executive Masters of Business
        Administration (the "EMBA Program")


        Schedule B - e-Learning Program Term Sheet #2 - Masters of Business Administration (the
        "MBA Program")                                                                                        !




                1.11     Amendments.

 .     This Agreement may be modified only upon the mutual written consent of Embanet and thel
University.                                                                                                  I


                  1.12 Embanet and University acknowledge that there will need to be collaboration
between the staff of both parties to adapt, integrate and construct systems and interfaces for thd
registration, tuition, financial aid, and other student systems as they relate to the E-Learning Program~
provided pursuant to this Agreement. This work will begin immediately after the execution of thd
Agreement by both parties and will be completed to the satisfaction of both parties no later than Aprilt6J
2010, unless otherwise agreed. In the event the parties are unable to successfully integrate the e-Learnin~



                                                 Page 5 of22
           Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 7 of 60
    1Embanet ULC& Washington State University                                       Master Services Agreement


    Program to WSU's reasonable satisfaction, WSU may terminate this Agreement without liability and the
    parties shall have no further obligations hereunder,


                                         ARTICLE2
                    OBJECTIVES, DUTIES AND RESPONSIBILITIES OF EMBANET


    i£mbanet shall be responsible for and shall provide, at its sole cost and expense unless otherwise expressly
    :stated herein, the following obligations and services:

                      2.1     Development of e-Learning Program.

           2.1.1 Embanet shall develop, create, operate and deliver the e-Learning Programs m
    accordance with the terms and conditions of this Agreement.

            2.1.2 The University and Embanet agree that they shall work together and reasonably assist
    each other in the collaborative and joint development of the e-Learning Program based upon the
    University's Course requirements, including Content, curriculum and related materials.

                     2.2      e-Learning Program.

             Based upon the collaborative assistance and cooperation of the University set out in Section 2.1
     and in Article 3 of this Agreement, Embanet will develop, create and deliver to the University the e-
     Learning Program. Embanet will, through the direction of the Chief Development Officer, provide the
    ,University with commercially reasonable consulting assistance in this regard at no extra cost to
     University.

                     2.3      Technical Development of Courses.

             Embanet will develop and create the on-line component of all Courses including instructional
    design, multimedia development, course uploading, and course/program hosting to established standards
    set by the Academic Director, as more particularly described in the mutually agreed to e-Learning
    Program Term Sheet. All Courses shall be developed and created by Embanet in accordance with the
    terms and conditions of the relevant and applicable e-Learning Program Term Sheet, including all
    Content requirements and specifications. Course activities that are related to media products, course
    structure and appearances (including graphic design, order of operations, so-called "look & feel", and
    page lay-out), duplication of such materials, repurposing of such information for the e-Learning Program,
    creating the e-Learning environment, dissemination of such materials to students, and providing surveys
    and assessments, shall all be subject to the prior approval of the University. Prior to the commencement
    of advertising and offering any Course to the general public, Embanet shall submit to the University, for
    approval as to quality and form, all Course materials prepared by the Parties and all promotional,
    packaging and advertising material associated therewith. The University shall, within ten (I 0) business
    days of such submission either reject or accept such Course materials in writing.

                     2.4      EmbanetDuty.

1
           Embanet represents, warrants and covenants that the performance of Embanet's obligations under
, Section 2.3 shall not infringe, breach, contravene, or otherwise misappropriate any Intellectual Property
, o~ third parties. Notwithstanding the foregoing, the University shall be solely responsible for securing all
i third. party consents, authorizations, permissions, approvals, and licenses concerning the Content that are

  reqmred for Embanet to perform such services.


                                                    Page 6 of22
          Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 8 of 60
Embanet ULC & Washington State University                                      Master Services Agreement


                 2.5     Marketing.

         2.5.1 Embanet will undertake commercially reasonable marketing efforts, subject to the nature
of the e-Learning Program, and the Academic Director's review and prior written approval and in
compliance with University brand standards, to develop, promote, market and sell the e-Learning
Program throughout the Territory. To the extent expressly provided in each e-Leaming Program Term
Sheet, Embanet will manage, implement and be responsible for: (i) marketing and tracking the associated
e-Leaming Program databases; (ii) activities related to entry, coordination, tracking, and control of the
associated e-Leaming Program marketing databases; (iii) activities related to determination of the
associated e-Learning Program marketplace acceptance, size and probability; (iv) activities related to the
execution of the associated e-Learning Program market research via direct mail, telephone surveys and
other methods with specific benchmarks established periodically by the Embanet necessary to develop
and execute marketing strategy; (v) dissemination of such print and electronic marketing materials; (vi)
such database management of electronic and hardcopy mailing lists for secondary mailings; (vii)
activities related to creation of script and management of telephonic contact with potential students for
such e-Learning Programs; (viii) activities related to direct response marketing (which may include direct
mail, trade publication advertising, Internet, telemarketing, inbound and outbound); and, (ix) public
relations and attending trade shows related to such e-Learning Programs, subject to the approval of the
University. The Parties agree and confirm that Embanet's performance of all such obligations as
expressly provided and required in the relevant e-Leaming Program Term Sheet shall be deemed to fully
satisfy Embanet's commercially reasonable marketing efforts first set out in this Section 2.5.

         2.5.2 The. University agrees that, subject to the University's existing proprietary rights and
interests in admitted students, any name, trade name, logo, domain names that are associated with the
University's goodwill, brand indicia, trademark, service mark, Embanet shall own all right, title and
interest in and to: (i) all student data and information in the marketing database as a result of Embanet's
marketing activities, excluding admissions data and information related to the students admitted to the
university; (ii) all marketing copy, slogans, art work and related materials associated with the e-Learning
Program marketing materials that are created and developed by Embanet, with the exception of any of
University's Intellectual Property used by Embanet with University's permission in such marketing
materials; and, (iii) all web sites and web site content created and developed by Embanet for the
marketing effort of the e-Learning Program, with the exception of any of University's Intellectual
Property used by Embanet with University's permission in such web sites or web site content ("Marketing~
Materials").

        2.5.3 Embanet agrees that it shall not use the Marketing Materials for any purpose other than to
market and promote thee-Learning Program pursuant to this Section 2.5.                                   ,

        2.5.4 In the event that this Agreement is terminated for any reason, Embanet shall provide the I
University (subject to a royalty free, personal, non-transferable and non-exclusive license from Embanet
to the University) with the right to use and reproduce all or any part of the tangible and material form of
Marketing Materials that Embanet has created to promote the e-Learning Program, such as brochures, art
work, and the hard copy manifestation of the e-Learning Program's website's marketing content, that have
been produced and printed (material form) by Embanet as at the date of such termination.                     1




                 2.6     Student Information.

        Embanet shall receive and promptly respond to student requests for information, schedules and
handouts. Embanet will provide a reasonable degree of general student support; however, all requests and
questions related to any Course's academic issues shall be directly forwarded by Embanet to the
University for the University's sole and direct response.



                                               Page 7 of22
                 Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 9 of 60
        i   Embanet ULC & Washington State University                                     Master Services Agreement


                           2. 7    Technical Support and Technology.

                 Embanet will provide the technical support to e-Leaming Program students and Faculty
         concerning their access to, and use of, the Courses that are part of the e-Learning program. Embanet
        ·agrees to utilize, and use commercially reasonable efforts during the entire Term of this Agreement to
        !continue to utilize, reasonably current technology in offering the Course to students.

                           2.8     Business Administration.

                 Embanet will manage the day-to-day business administration of the e-Learning Program
         including the following: (i) activities related to initial contact, description of the e-Learning Program,
        ,marketing, mailing of brochures, and notification of schedule; {ii) assistance for verification of receipt of
         information necessary for registration; (iii) activities related to notification of deadlines, e-mail updates,
         mailing of registration packets; (iv) verifications of receipt of information; and, (v) telephone support in
         the application process, processing of information, and receipt of necessary student documentation.
         Embanet will use its best efforts and in a timely manner electronically transfer all relevant information
        ,pertaining to applicants and student enrollments in thee-Learning Program.

                           2.9     e-Learning Program Accounting.

               Embanet will be responsible for undertaking the financial services, transactions and for
      maintaining the accounting, with respect to e-Learning Program activities in accordance with Generally
      Accepted Accounting Practices in the United States of America to the extent such obligations are
    ,expressly set out and provided in the e-Learning Program Term Sheet, which may include, without
    ' limitation, the recording, tracking and paying all business vendors and suppliers associated with the e-
    1Learning Program other than those business vendors and expenses for which the University is directly
    'responsible.

                           2.10    e-Learning Program and Business Funding.

I         Each Party shall fund and be responsible for the payment of all costs and all expenses with
 respect to the performance of their respective duties, responsibilities and activities assigned to each Party
'in this Agreement and the applicable Program Term Sheet unless otherwise specifically stated herein.


                                              ARTICLE3
                           OBLIGATIONS AND CONTRIBUTIONS OF THE UNIVERSITY


. The University shall be responsible for and shall provide at its sole cost and expense (unless otherwise
  indicated in this Agreement) the following obligations and services:

                           3.1    e-Learning Program Term Sheet.

          3.1.1 The University and Embanet shall use their reasonable efforts, on an expedited basis and
  in good faith, to propose, discuss, settle, agree to, execute and deliver such e-Learning Program· Term
  Sheets as may be required after the Effective Date to more particularly define thee-Learning Program(s)
  that shall be subject to this Agreement, including all associated Course and Content requirements and
' specifications .

        . 3.1.2 Once each e-Learning Program Term Sheet is agreed upon by each of the Parties, each e-
    Leammg Program Term Sheet shall be signed by the Parties and shall become a part of this Agreement.


                                                         Page 8 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 10 of 60
 Embanet ULC & Washington State University                                     Master Services Agreement


                  3.2     Content and Curriculum.

         The University will be solely responsible for the development and timely delivery to Embanet of
 all Content for course development. Academic programming and curriculum matters for all e-Leaming
 Programs shall be the University's exclusive responsibility, and the University will make all decisions
 concerning each course's curriculum and Content. The University shall exercise control over, and be
 exclusively responsible for, the Content and quality of the curriculum of the e-Leaming Program. The
 University agrees that it shall undertake an annual review of each Course and that it shall provide all
 reasonably required improvements, revisions, additions, deletions and curriculum refreshment that may be
 required (whether due to information currency, discipline development, or any other reason related to
 Course quality and completeness).

                 3.3     Faculty.

         The University will be responsible for the review of credentials, appointment and coordination of
Faculty. The University acknowledges the close relationship of the quality of the Faculty and Content
with the success of each e-Leaming Program, and the University agrees that all Faculty shall have the
experience, qualifications and expertise to perform their respective obligations in connection with each
Course they are associated with and that the care, quality and performance of each Faculty shall be of a
reasonably diligent and professional quality that is consistent with faculty standards associated with the.
College's AACSB accreditation. For greater certainty, employment or retainer (including all
remuneration, benefits, statutory deductions and remittances) with respect to Faculty (and other
employees or independent contractors ofthe University) are the responsibility of the University, and other
than Embanet's obligation to compensate the University pursuant to Section 3.4, Embanet shall have no
obligations, responsibilities or duties concerning same.

                 3.4     Compensation of Faculty

         The University shall be responsible for paying University faculty and other University employees
for the work performed by them for the e-Leaming Program. The amounts agreed upon in the applicable
Term Sheet that will be paid to the University by Embanet for course development, instruction, and
course facilitation will be deducted from the percentage payments made by the University to Embanet
prior to transmitting the payments to Embanet. Embanet shall be responsible for paying facilitators who
are not employed by the University for work performed on the e-Leaming program.

                 3.5     Academic Credit and Degree.

         The University shall be responsible for assessing and granting all e-Leaming Program
accreditations, such as Course credits and degrees, to students whom the University determines have
successfully completing an e-Leaming Program and who otherwise satisfy the necessary academic criteria
established by the University for such accreditation. For greater certainty, all Course and e-Leaming
Program student evaluations, performance assessments, and accreditation entitlements shall be the sole
and absolute responsibility and discretion of the University.

                 3.6     Admissions.

        The Academic Director is responsible for determining the student capacity of the e-Leaming
Program, including the number of students to be admitted, and the number of Course sections offered, in
order to maintain the academic quality of each Course and the e-Leaming Program. The University shall
be responsible for all decisions regarding each Course's student admission and registration criteria.




                                               Page 9 of22
      Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 11 of 60
 Embanet ULC & Washington State University                                      Master Services Agreement


                  3.7     Records.

        The University will have the sole duty and responsibly to maintain all academic records in
accordance with its existing contractual obligations with students, the University's policies and practices,
and in compliance with all applicable laws and regulations. Upon the University's request, Embanet shall
promptly provide the University with any academic records concerning this Agreement that are in
Embanet's possession or under its control.

                  3.8     Licenses; Third Parties.

         Without limiting Article 9 hereof, the University shall obtain and shall take all actions necessary
to maintain, at its own expense, any authorizations, approvals, consents, permits and licenses from third
parties that are necessary for University to perform its responsibilities under this Agreement, as required
for Embanet to carry out its responsibilities to develop, deliver, manufacture, use, host, and
commercialize the Content as contemplated by this Agreement, including the procurement of all
information technology, Intellectual Property concerning the Content. Subject to the confidentiality
obligations set forth herein, the University shall promptly provide to Embanet, upon Embanet's reasonable
request, material information regarding the University's agreements with third parties that directly affect
the e-Learning Program and/or Embanet's rights to have access to, host, or to otherwise possess or use
such things. The University shall promptly disclose to Embanet any Intellectual Property rights of
Faculty associated with any Course (including Content) of which it becomes aware and which may
adversely affect the ability of either Party to perform its obligations under this Agreement. Without
limiting the foregoing, the University shall ensure that they have secured, in writing, all right, title and
interest (whether by license or otherwise) from all Faculty for the University and Embanet to use the
Content that is associated with each Course for the purposes of this Agreement. The University
represents, warrants and covenants that the Content shall not infringe upon the Intellectual Property rights
of any third party.


                                               ARTICLE4
                                                LICENSE


                  4.1     License to Embanet

         The University hereby grants to Embanet for the Term of this Agreement a non-transferable
(except as otherwise permitted pursuant to this Agreement), non-exclusive license to use, modify, revise,
augment, create derivative works of, develop, produce, reproduce, manufacture, distribute, host, perform,
display, promote, advertise sell and otherwise exploit anywhere in the Territory the Content (and all other
goods, things, information and information technology that the University shall provide Embanet
pursuant to each e-Learning Program Term Sheet) solely for the purposes of this Agreement, including
the hosting of e-Learning Program, and the creation of either foreign language versions or new versions
of the e-Learning Program. This license includes a license under all existing or future Content. ALL
OTHER RIGHTS AND INTERESTS CONCERNING THE CONTENT ARE RESERVED BY THE
UNIVERSITY.

                 4.2      License to The University.

         Embanet hereby grants to the University for the Term of this Agreement a personal, non-
transferable and non-exclusive license to use Embanet's Intellectual Property to develop, produce,
reproduce, manufacture, distribute, perform, display, promote, advertise, sell, and otherwise exploit the e-
Learning Program that is produced pursuant to this Agreement, including any foreign language (direct


                                               Page 10 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 12 of 60
Embanet ULC & Washington State University                                        Master Services Agreement


translations) versions, but not for the purpose of creating or developing any derivative works or new
versions of the e-Leaming Program. For greater certainty, unless otherwise expressly agreed to in writing
between the Parties, the University shall not (directly or indirectly) create, author, develop or produce any
modifications, changes, revisions, adaptations, derivative works, alterations, deletions from, additions to,
or customizations of all or any part of any Embanet property (including Embanet's Intellectual Property)
or confidential information.

                 4.3      Course Contributions.

        Embanet shall solely and exclusively own all right, title and interest in all Embanet Intellectual
Property, whether same is created, authored, or developed pursuant to this Agreement or otherwise.

                 4.4      Rights to Content and Program.

        Subject to Embanet's rights pursuant to Section 4.3, the University and/or the Faculty, shall retain
all right, title, and interest in the Content and any derivative works, modifications, revisions,
augmentations, or improvements that the University and/or Faculty makes or creates to the original
Content including trademarks, service marks and related goodwill associated with the Content.

                 4.5      Marking Provisions.

       Without limiting Sections 4.1 and 12.2, the licenses granted by the University to Embanet
hereunder are conditioned on Embanet's full and complete compliance with all trademark, patent, and
copyright laws of the United States and other countries in the Territory.

                 4.6      Moral Right.

        University shall secure from an author, including Faculty, the right for Embanet to use the ·
author's likeness, name and biographical materials for the purpose of promoting and delivering that
Course pursuant to this Agreement.


                                             ARTICLES
                                           REMUNERATION


                 5.1      Service Fees.

         As full consideration for all of the obligations and services performed by Embanet pursuant to         1




this Agreement, the University agrees to pay Embanet the service fees that are set out, and as calculable·
                                                                                                                1




in, each applicable e-Learning Program Term Sheet (the "Service Fee").

                 5.2      Payment.

         Except as otherwise provided in an applicable e-Learning Program Term Sheet, the parties agree·
that the University shall collect all e-Leaming Program student fee payments. The University shall;
provide payment to Embanet of its agreed-upon portion of the Service Fees hereunder on a periodic basis
consistent with the University's tuition receivables process and the University shall also provide Embanet
with periodic written reports containing accurate, complete and current information concerning all such'
collections, deductions and remittances in accordance with this Article 5. All Service Fees payable to
Embanet pursuant to this Agreement will be made by direct bank deposit, or check payable to Embanet
and sent to Embanet at the address set out in Article 12 or as University may be otherwise directed in


                                                Page 11 of22
              Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 13 of 60
        , Embanet ULC & Washington State University                                    Master Services Agreement


        'writing by Embanet; provided that all payments hereunder will be subject to the deduction of withholding
        land other applicable taxes. Embanet shall be responsible for any applicable income, sales, use or other
         taxes arising out of or in connection with Embanet's receipt of the Service Fees.


                                                       ARTICLE6
                                                        AUDIT


                         6.1      Right to Audit.

                 Embanet shall have the right, at Embanet's expense, to have a certified chartered accountant (the
       "Auditor") perform an audit (the "Audit") of the University's performance of its financial obligations to
     'Embanet under Article 5, exercisable by at least 20 days prior written notice delivered to the University,
     ,including providing reasonable access to the University 's relevant financial books, records and materials
     'regarding the e-Learning Program's financial affairs. For greater certainty, any Audit shall only and
     I strictly be conducted for the limited purpose of verifYing the Service Fee that is payable by the University

    ;to Embanet hereunder, and for no other purpose whatsoever. Such audit shall not interfere with the
    1  conduct of the University's business operations. If a difference between the amount of the Service Fee
    1payable to Embanet, as determined by any Audit to be greater than one percent (I%) or more than the
    I actual amount of Fees paid to Embanet for such period ("Significant Discrepancy") then such Significant

    I Discrepancy shall be immediately repaid by the University to Embanet.




                         6.2      Embanet Under- or Over-Compensated.

             In the event the Audit determines that Embanet has been either under or over compensated by any
      amount for such Audit period, then such Service Fees that are either due and payable or reimbursable for
    , such Audit period shall be immediately paid by University or repaid by Embanet as the case may be.

                         6.3     Maintenance of Books and Records.

                All books and records relative to the obligations hereunder shall be maintained and kept
        accessible and available to the Parties for inspection for at least two (2) years after termination of this
        Agreement.


                                            ARTICLE7
                          CONFIDENTIAL INFORMATION AND NON-COMPETITION


                         7.1     Confidentiality.

           The University and Embanet each recognize that each other Party's Confidential Information
  constitutes highly valuable and proprietary confidential information. The University and Embanet each
' agree, to the extent permitted by law, to keep confidential, and to contractually require its employees,
, consultants, affiliates and licensees and sublicensees to keep confidential, all Confidential Information of
  each other Party. Neither the University nor Embanet nor any of their respective employees, affiliates and
; licensees and sublicenses shall use Confidential Information of either other Party for any purpose
1 whatsoever except as expressly permitted by this Agreement.




                                                       Page 12 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 14 of 60
Embanet ULC & Washington State University                                      Master Services Agreement


                  7.2    Notwithstanding Section 7.1, neither Party shall have any obligations of
confidentiality with respect to Confidential Information in the following circumstances except to the
extent that such information:

        (i)     as of the date of disclosure is demonstrably known to the Party receiving such disclosure,
                as shown by written documentation, other than by virtue of a prior confidential disclosure
                to such Party or its affiliates;

        (ii)    as of the date of disclosure is in, or subsequently enters, the public domain, through no
                fault or omission of the Party receiving such disclosure; or

        (iii)   as of the date of disclosure or thereafter is obtained from a third party free from any
                obligation of confidentiality to the disclosing Party;

        (iv)    is created or developed by a receiving Party, without use of the Confidential Information
                of the disclosing Party by persons who did not have access to the disclosing Party's
                Confidential Information; or

        (v)     is required by applicable law, regulation or court order to be disclosed, including a
                request pursuant to the Washington Public Records Act, following prior written notice to
                Party whose information is being disclosed. Embanet acknowledges that University, as a
                state agency, is at all times is subject to the Washington Public Records Act, RCW
                42.56.010 et seq. as now existing or as amended. If University receives a public records
                request for this Agreement and/or for documents and/or materials provided to University
                under this Agreement, generally such information will be a public record and must be
                disclosed to the public records requester. However, University agrees to notifY Embanet
                if it receives such a public records request and the date University plans to release the
                records. If Embanet fails to obtain a protective order from the applicable court prior to
                the time University releases the records to the public records requester, Embanet gives
                University full authority to release the records on the date specified, and Embanet
                understands it has thereby given up all rights to challenge the disclosure in any forum.

                 7.3     Publicity.

    .    Neither Party may disclose the terms of this Agreement without the prior written consent of the :I
other Party; provided, however, that any Party hereto may make such a disclosure to the extent requiredl     1




by law, including disclosure pursuant to the Washington Public Records Act. Such disclosure shall be on,
reasonable notice to each other Party and after taking all reasonable steps as may be appropriate to .       1




maintain confidentiality. The Parties, upon the execution of this Agreement, will use their reasonable:
efforts to agree upon the Content and the exact timing of an initial public announcement relating to the,
transactions contemplated by this Agreement as soon as possible after the Effective Date (such agreement,
not to be unreasonably withheld or delayed). Thereafter, the Parties will use their reasonable efforts to•
agree on the text and the timing of any subsequent public announcements regarding this Agreement or the!
transactions contemplated herein; provided that once any written statement is mutually approved for,l
disclosure, any Party hereto may make subsequent public disclosure of the contents of such statement!
without the further approval of the other Party. Any costs incurred for public relations in respect of this'
Agreement shall be paid by the Party incurring the expense.




                                               Page 13 of22
      Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 15 of 60
:Embanet ULC & Washington State University                                        Master Services Agreement
I




                  7.4      Limitation On Disclosures.

         Notwithstanding any provision in this Agreement, no Party shall be obligated hereunder to
jdisclose to another Party any information which it is prohibited from disclosing by law or under any
Jagreement with a third Party.
I

                  7.5      Prohibition On Hiring.

          Neither Party shall, during term of this Agreement and for a period of one (I) year thereafter, hire
 ,or solicit any person who was employed by the other Party hereto or its affiliates during such period,
  whether such person is hired as an employee or consultant, unless authorized in writing by the other
i Party, or unless such person has not been employed by the other Party for at least 12 months prior to his

ior her hiring or solicitation. Hiring as a result of advertisements of open positions which are directed to
I the general public will not constitute a violation of this provision.




                  7.6      Restrictive Covenant.

          During the term of this Agreement, the University agrees, as a material condition of this
 Agreement, that it shall not use, commercially exploit, distribute, market, license, or otherwise allow any
 other person to use or have the benefit of, all or any part of, the e-Leaming Program except solely and
,exclusively for the University's internal operations, including the University's educational and research
'functions, and not in any manner that competes with any good or service Embanet commercially provides
 to other persons in the Distance-Learning market, whether as a service provider, host, application service
 provider (ASP}, facility manager, service bureau, outsourcing service provider, or as a shared service.


                                            ARTICLES
                                      TERM AND TERMINATION


                 8.1     Term a!J.d Renewal

        8.1.1 This Agreement shall take effect on the later of the Effective Date or when the last
signatory executes this Agreement, and shall continue for a period of ten (10) years (the "Term") unless
sooner terminated in accordance with the provisions of this Article.

        8.1.2 This Agreement may be renewed by the mutual written consent of the Parties for an
additional period not to exceed ten (I 0) years (the "Renewal Term").

                 8.2     Termination Prior to End of Term

        This Agreement may be terminated prior to the end of the Term in any of the following manners:

        8.2.1    Termination for Breach

        A Party may terminate this Agreement if the other Party defaults in the payment of any financial
obligation arising from the performance of this Agreement and fails to cure such default within thirty (30)
days of receipt of written notice of the default from the non-defaulting Party.




                                                Page 14 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 16 of 60
Embanet ULC & Washington State University                                        Master Services Agreement


         A Party may terminate this Agreement if the other Party materially breaches any of the terms of
this Agreement other than for default in payment and fails to cure the breach within sixty (60) days of
receipt of written notice of the default from the non-defaulting Party.

        8.2.2    Termination for Cessation of Business Operations or Insolvency

        Upon not less than sixty (60) days written notice to the other Party, a Party may terminate this
Agreement if the other Party has dissolved, ceased active business operations, or filed for insolvency,
bankruptcy or reorganization, unless the Party's dissolution, cessation or liquidation results solely from
reorganization, acquisition, merger or similar event and the Parties have mutually agreed to Assignment
of this Agreement as provided in Section 12.7. If this Agreement is terminated because Embanet has
dissolved, ceased active business operations, or filed for insolvency, bankruptcy, or reorganization, other
than as provided in Section 12.7, the University may continue existing Programs, including the right use
Embanet's Intellectual Property developed for the existing Programs, upon such terms as are
commercially reasonable under the circumstances.

        8.2.3   Termination for Failure to Meet Targets

        The University shall have the right to terminate a Program without liability for Embanet's costs,
expenses, or expected profits and without penalty at any time after the fourth ( 4 'h) year of this Agreement
if minimum annual revenue targets ("Target(s)") as set forth in the applicable Term Sheet have not been
met.

         The Target will be measured within thirty (30) days after the completion of each year of the
Program for the twelve month period immediately preceding. In the event that the Targets have not been
met after the fourth year of a Program, the University may, within sixty (60) days of the end of the fourth
year, or by the end of each year thereafter, exercise its right to terminate the Program ("Termination
Right") pursuant to this Section 8.2.3. If the University does not exercise its Termination Right during
this time, the Termination Right for the applicable year will expire. If, after termination, of a Program,
there are no other active Programs remaining, then this Agreement shall also terminate.

        8.2.4   Termination by Mutual Consent

        The Parties may terminate this Agreement at any time upon written mutual consent.

        8.2.5   Termination for University's Convenience

       The University may terminate this Agreement for Convenience at any time after the fifth year ofl
the Term upon not less than one hundred eighty (180) days prior written notice to Embanet.

         If the University terminates this Agreement under this provision, University shall pay Embane~
the unamortized direct costs incurred by Embanet in the development of Courses under this Agreement:,
"Unamortized Direct Costs" shall be defined to mean Embanet's direct capital costs amortized over a.l
straight line basis. In addition, the University shall pay Embanet up to a maximum of $500,000, based onl
a calculation of the marginal net revenue Embanet reasonably anticipated receiving from existing
Programs for the succeeding two (2) years or the period from termination until the end ofthe Term of thi~
Agreement whichever is less. "Marginal Net Revenue" shall be defined to mean Embanet's share o~"
Gross Receipts for that period less Embanet' s share of expenses for that period (expenses to includ<j
reimbursed Unamortized Direct Costs for that period) had the Programs been continued to be offered.      i




                                                Page 15 of22
                 Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 17 of 60
        1Embanet ULC & Washington State University                                       Master Services Agreement
        I




                    If the Parties do not agree on the amount of Embanet's expected Marginal Net Revenue, the
            matter shall be submitted for resolution pursuant to the dispute resolution process set forth in Section
            11.2.

        1
               The compensation obligations of the University in this Section 8.2.5 are compensatory and
     'remedial only, shall not constitute any penalty whatsoever, and shall be in full satisfaction of any and all
     'claims Embanet may have against the University for termination. The Parties agree and confirm that such
      remedy constitutes liquidated damages to compensate Embanet for all harm and losses, and that the
    ' provisions of this Section are fair and reasonable in the commercial circumstances of this Agreement and
    •such provisions have been relied upon by Embanet and the University as a material inducement to enter
    I into this Agreement.


    !

                           8.3      Teach-out Due to Failure to Meet Annual Target

               In the event the University terminates an e-Learning Program pursuant to Section 8.2.3, the
    1
      University may elect that Embanet, for a period of two years following such termination (the "Teach-out
    'Period"), perform the following teach-out services: technical support pursuant to section 2.7; and student
    'support pursuant to sections 2.6 and 2.8 and accounting services pursuant to section 2.9 (the "Teach-out
    1
      Services''). In the event the University elects that Embanet provide the Teach-out Services, the
      University shall pay Embanet 45% of Gross Receipts, as defined in this Agreement, collected from
      students as of the Termination Date and for so long as they remain enrolled in the e-Learning Program
      during the Teach-out Period. In the event that the University does not elect that Embanet provide the
      Teach-out Services, then the University shall be entitled to continue the existing e-Leaming Programs and
      shall have the right to use Embanet's Intellectual Property developed for the existing e-Leaming
      Programs during the Teach-out Period, and shall pay Ernbanet 35% of Gross Receipts, as defined in this
      Agreement, collected from Non-Referred Students, and 20% of Gross Receipts collected from Referred
      Students, enrolled in the e-Leaming Program as of the Termination Date and for so long as they remain
      enrolled during the Teach-out Period. Referred Students shall be defined as students enrolled in the e-
      Learning Program as a result of the University's referral ~fa student to Embanet. Non-Referred Students
      shall be defined as all other students enrolled in the e-Learning Program.

                            8.4     Other Relief

           Each Party acknowledges the unique, commercially sensitive and operationally critical nature of
  the e-Learning Program, and all other obligations and duties under this Agreement, and that each Party
  could be immediately and irreparably harmed by any material breach of the obligations owed by either
: Party to the other and that monetary relief alone for any such breach might not adequately compensate the
; harmed Party in such event. The Parties further agree that they shall be entitled to seek equitable relief in
  connection with any such breach of this Agreement, including a restraining order, injunctive relief, or
  specific performance as may be granted by any Court of competent jurisdiction to prevent or otherwise
' remedy any such expected or actual breach of this Agreement, and to enforce the terms and provisions
1 hereof. Such remedies shall not be deemed to be the exclusive remedies for any breach of this
  Agreement, but shall be in addition to all other remedies available at law or equity.




                                                         Page 16 of22
        Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 18 of 60
Embanet ULC & Washington State University                                         Master Services Agreement


                                        ARTICLE9
                       REPRESENTATIONS, WARRANTIES AND COVENANTS


                 9.1      University Representations.

       The University represents and covenants to Embanet as follows:

       (i)      Organization. The University is an institution of higher education created under the laws ·
                of the State of Washington. The University has all requisite power and authority, '
                corporate or otherwise, to conduct its business as now being conducted and to execute, ·
                deliver and perform this Agreement in accordance with its terms.

       (ii)     No Legal Violation. The performance of this Agreement by the University shall not, to :
                the best of the University's knowledge and belief, violate any provision of any
                agreement, law, rule, regulation, order, writ, judgment, injunction, decree, determination
                or award presently in effect having applicability to this Agreement.

       (iii)    Binding Agreement. This Agreement is a legal, valid and binding obligation of the
                University enforceable against it in accordance with its terms and conditions.

       (iv) ·   No Inconsistent Obligation. The performance of this Agreement by the University shall
                not, to the best of University's knowledge and belief, infringe, breach, contravene or
                detrimentally affect any other person's contractual, confidentiality or intellectual property
                rights, and the University does not require any authorization, consent, permission, or
                approval otherwise from any other person concerning the ability of the University to:
                perform all, or any part of, this Agreement (including permitting Embanet to take·
                possession of, host, use, operate, maintain, or otherwise have access to any Course,
                Content, information technology, or information). The University is not under any:
                obligation to any person, or entity, contractual or otherwise, that is conflicting or,
                inconsistent in any respect with the terms of this Agreement or that would prevent, delay,        1




                interfere with, or otherwise impede the diligent and complete fulfillment of thei
                University's obligations hereunder.

                 9.2      Ernbanet Representations.

       Embanet represents to University as follows:

       (i)      Organization. Embanet is a corporation duly organized, validly existing and is in good
                standing under the laws of the jurisdiction of its incorporation, is qualified to do business
                                                                                                              1




                and is in good standing as a foreign corporation in each jurisdiction in which the
                performance of its Service obligations requires such qualification and has all requisite
                power and authority, corporate or otherwise, to conduct its business as now being
                conducted, and to execute, deliver and perform this Agreement.                                i



      (ii)      Authorization. The execution, delivery and performance of this Agreement by Embanetl
                shall not violate any provision of any agreement, law, rule, regulation, order, writ,)
                judgment, injunction, decree, determination or award presently in effect having
                applicability to it or any provision of its charter documents.                       'I
                                                                                                              I
      (iii)     Binding Agreement. This Agreement is a legal, valid and binding obligation of Embanet
                enforceable against it in accordance with its terms and conditions.                           !




                                                Page 17 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 19 of 60
    Embanet ULC & Washington State University                                      Master Services Agreement


           (iv)   No Inconsistent Obligation. The performance of this Agreement by Embanet shall not, to
                  the best ofEmbanet's knowledge and belief, infringe, breach, contravene or detrimentally
                  affect any other person's contractual, confidentiality or intellectual property rights, and
                  Embanet does not require any authorization, consent, permission, or approval otherwise
                  from any other person concerning the ability of Embanet to perform all, or any part of,
                  this Agreement. Embanet is not under any obligation to any person, or entity, contractual
                  or otherwise, that is conflicting or inconsistent in any respect with the terms of this
                  Agreement or that would impede the diligent and complete fulfillment of its obligations
                  hereunder.

           (v)    Third Partv Intellectual Propertv. As at the Effective Date, Embanet has no actual
                  knowledge that the performance of the Services by Embanet will infringe the Intellectual
                  Property rights of any third party.

                   9.3     WARRANTY DISCLAIMER.

       EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS AGREEMENT OR LIMITED
!BY LAW, EACH PARTY AGREES AND ACCEPTS THAT NO PARTY UNDER THIS
'AGREEMENT MAKES ANY REPRESENTATION, COVENANT, PROMISE, GUARANTEE OR
 WARRANTY WITH RESPECT TO ANY TECHNOLOGY, GOODS, SERVICES, RIGHTS OR
 OTHER ASPECT OF THIS AGREEMENT AND HEREBY ABSOLUTELY DENIES AND
 DISCLAIMS SAME, INCLUDING ANY WARRANTY OF MERCHANTABILITY, FITNESS OF
 SERVICES FOR ANY PARTICULAR PURPOSE OR OTHERWISE WITH RESPECT TO ANY
 ASPECT OF THIS AGREEMENT.


                                              ARTICLE 10
                                          RISK MANAGEMENT


                   10.1    Infringement Indemnification by The University.

            The University shall, to the extent permitted by law, defend, indemnifY and hold harmless
  Embanet, its subsidiaries, parent corporations, affiliates, officers, directors, independent Companies,
  partners, shareholders, employees, agents, successors and assigns from and against any damages, claims,
  suits, liabilities, losses and expenses, including attorney's fees, arising from or related to any third party
  claim that use of the Content in accordance with the terms of this Agreement infringes the Intellectual
  Property of such third party, including moral rights. If any Content or its use is held to constitute an
.infringement of any third party's Intellectual Property or any Content is, or is likely to be held to
'Constitute, such an infringement, the University will at its expense and option: (I) procure the right for
i Embanet to continue using the Content; (2) replace the Content with non-infringing equivalent content

'Conforming to the applicable specification required by this Agreement; or (3) modifY the Content to make
i it non-infringing while conforming to the applicable specifications.

i

,                  10.2    Infringement Indemnification by Embanet.

,I .        Embanet shall defend, indemnifY and hold harmless the University, its subsidiaries, parent
!corporations, affiliates, officers, trustees, independent companies, partners, shareholders, employees,
1agents, successors and assigns from and against any damages, claims, suits, liabilities, losses and
!expenses, including attorney's fees, arising from or related to any third party claim that Embanet's
 I intellectual property infringes any Intellectual Property of any third party. If any Embanet intellectual


1
   property or its use is held to constitute an infringement of any third party's Intellectual Property or any


                                                 Page 18 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 20 of 60
 Embanet ULC & Washington State University                                       Master Services Agreement


Embanet intellectual property is, or is likely to be held to constitute, such an infringement, Embanet will
at its expense and option: (I) procure the right for the University to continue using Embanet intellectual
property; (2) replace Embanet intellectual property with non-infringing equivalent content conforming to
the applicable specification required by this Agreement; or (3) modify Embanet intellectual property to
make it non-infringing while conforming to the applicable specifications.

                  10.3    Notice oflnfringement.

         Each Party shall inform the other promptly in writing of any alleged infringement of an                      i

Intellectual Property Right relating to an e-Leaming Program by a third party and of any available
evidence thereof.

                  10.4    Right to Assume Litigation Defense.

        Each indemnifying Party shall have the right, but shall not be obligated, to defend and litigate at ,
its own expense any infringement claim to which it may be liable under this Article I 0.

                  10.5    Cooperation.

         The indemnified Party shall fully cooperate and assist in all respects with the defense of any such :
intellectual property infringement claim, including to testify when requested and to make available all '
relevant records, papers, information, samples, specimens, and the like.                                     ·

                  10.6    Limitation and Exclusion of Liability.

         Except as otherwise agreed in Sections 8.2.5, 10.1 and 10.2 hereof, the Parties agree and confirmil
that: neither the University nor Embanet shall, in any circumstance, be liable, responsible or obligated fori
any indirect, third party, consequential, special or punitive liability, damages, compensation, award, loss, I
harm, injury, cost or expense whatsoever regardless of the cause of action for same arose, including!
contract, tort, negligence, common law, equity, statute or otherwise; and each Party's sole, exclusive and    1



exhaustive liability, responsibility and remedy to the other Party shall be strictly limited, in the aggregate    1



for all occurrences, to no more than $1,000,000 during the entire term of this Agreement.

                  10.7    Insurance.

       During the term of this Agreement, Embanet agrees to obtain and maintain insurance issued by ~
company authorized to provide insurance in the United States of America, in the following kinds and
amounts:                                                                                             I
         10.7.1 Commercially reasonable worker's compensation and employer liability, but in no even~l
less than statutorily-required minimums, including occupational disease, covering all employees on or oft)
the work site, acting within the course and scope of their employment.                                   'I

        10. 7.2 Insurance for bodily injury and property damage as listed below:

                Commercial General Liability with:
                $1,000,000 per occurrence
                $1,000,000 personal injury
                $2,000,000 general aggregate
                $2,000,000 products/ completed operations aggregate




                                                Page 19 of22
                      Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 21 of 60
                Embanet ULC & Washington State University                                       Master Services Agreement


                     10.7.3 Commercial automobile insurance with coverage of $1,000,000 Combined Single
            iLimited Liability including hired and non-owned.

            '            10.7.4 The policy limits in 10.7.2 and 10.7.3 shall be reviewed arid re-adjusted as necessary after
                year five (5) of the Term.
            I


        1        10.7.5 Embanet agrees to add the University as an additional insured, and upon the request of
        !the University, shall confirm in writing to the University the existence of the insurance coverage that is
        !required pursuantto this Section 10.7.
        I                      .
                                                            ARTICLE 11
                                                       DISPUTE RESOLUTION


                                   11.1   Internal Resolution Attempts.

        ,        In the event of any dispute arising between the Parties in connection with this Agreement,
         the Parties shall attempt to amicably resolve the dispute, including through escalation of the
         matter to a senior representative or senior representatives of each Party.
        I


                                   11.2   Alternative Dispute Resolution.

               In the event that a dispute arises under this Agreement that the parties can't resolve per Section
      11.1, they shall allow the dispute to be decided by a Dispute Panel in the following manner: each party to
    I this Agreement shall appoint one member to the Dispute Panel, and the members so appointed shall

    jointly appoint an additional member to the Dispute Panel. The Dispute Panel shall review the facts,
    :contract terms and applicable statutes and rules and make a determination of the dispute. The
    ;determination of the Dispute Panel shall be final and binding on the parties hereto. The parties shall
    j equally share the costs, if any, for the services of the Dispute Panel.
I



                                                           ARTICLE 12
                                                       GENERAL PROVISIONS


                                   12.1   Relationship of the Parties.

1          The relationship between the Parties is limited solely to the activities, rights and obligations set
i forth in this Agreement. Nothing in this Agreement shall be construed: (i) to create or imply any joint
'venture, franchise, agency, employment or partnership relationship; (ii) to give any Party hereto the right
' to obligate or bind the other; (iii) to create any duties or obligations between the Parties except as
'expressly set forth herein; or, (iv) to grant any direct or implied licenses or any other right other than as
  expressly set forth herein. The Parties each agree and confirm that they are independent contractors as,
  and to the limited extent, set out in this Agreement.

                                   12.2   Compliance with Law.

                The Parties agree that this Agreement and all activities in any way relating to it shall be
        conducted in compliance with the specific state laws and regulations. Embanet agrees to comply with the
        University's policies with respect to privacy of educational records that are provided to Embanet.




                                                               Page 20 of22
         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 22 of 60
 Embanet ULC & Washington State University                                      Master Services Agreement


                  12.3     Family Educational Rights and Privacy Act.

         Embanet shall comply with the Family Educational Rights and Privacy Act (FERPA), 12 U.S.C .
. 1232g (and implementing regulations), in carrying out all of its obligations under this Agreement.

                  12.4     Governing Law.

        This Agreement shall be governed by and construed in accordance with the laws of the State of
Washington, without regard to its law governing conflict of laws. This Agreement contains the entire
agreement between the Parties with respect to the matters set out herein and it supersedes in full all prior
discussions, all other documents, and agreements between the Parties concerning the subject matter
hereof. This Agreement may be amended, modified or supplemented only by a written document signed
by an authorized representative of each Party.

                  12.5    Further Assurances.

        The Parties agree to execute such other filings, registrations, agreements, certificates and
documents, and the Parties will file record and publish such other certificates and documents, as may be
necessary to perform this Agreement, and to comply with the requirements of applicable laws governing
the formation and operation of this Agreement.

                  12.6    Notices.

         Any notice to be given to the University or Embanet under the terms of this Agreement may be
delivered personally, by telecopy, telex or other form of written electronic transmission, or by registered
or certified mail, postage prepaid, and shall be addressed as follows:

        If to Embanet:           225 Sparks Avenue, Toronto, ON Canada M2H 2S5
                                 Phone: 416-494-6622 ext. 2259
                                 Fax: 416-494-1891
                                 Attention: Steve Fireng

        If to the University:    Washington State University
                                 P.O. Box 644750, Pullman Washington 99164
                                 Phone: 888-585-5433
                                 Fax: 509-335-3851
                                 Attention: David Sprott

        With Copy to:            Washington State University
                                 Office of Business & Finance
                                 P.O. Box 641045
                                 Pullman, WA 99164-1045
                                 Attention: Contracts Manager

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        A Party may hereafter notify another in writing of any change in address. Any notice shall be!
deemed duly given (i) when personally delivered, (ii) when telecopied, telexed or transmitted by other.'l
form of written electronic transmission (upon confirmation of receipt) or (iii) on the third day after it is:
mailed by registered or certified mail, postage prepaid, as provided herein.                                   1




                                                Page 21 of22
·I                Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 23 of 60
             IEmbanet ULC & Washington State University                                  Master. Services Agreement
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                             12.7     Successors and Assigns.

         ;        Neither Party may assign this Agreement, including an assignment to a successor in
         ~interest as a result of a merger, acquisition or public offering, without first obtaining the written
         consent of the other Party, which may not be unreasonably withheld, except that Embanet may
         1



         'assign this Agreement, including all licenses granted hereunder, to an affiliate or subsidiary
         /without the University's consent. This Agreement will inure to the benefit of and be binding
         iupon the Parties and their respective successors and permitted assigns.
         '


                            12.8     Counterpart Execution.

                 This Agreement may be executed in any number of counterparts with the same effect as if all
        iParties hereto have signed the same document. All counterparts shall be construed together and shall
        konstitute one Agreement.

                             12.9     Survival.

               Notwithstanding any provision herein to the contrary, the rights and obligations set forth in
     'Sections 2.5.2, 2.5.4; 4.3, 4.4; 7.1, 7.5; 8.3, 8.4, 8.5, 8.6, 8.7; 10.1, 10.2, 10.3, 10.4, 10.6; 12.4 and 12.6,
     !shall survive the expiration cir termination of this Agreement.
     !
     !IN WITNESS WHEREOF, the Parties have entered into this Agreement as of the Effective Date.
     ~Washington         State University                           EmbanetULC

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     'Per:                                                          Per:

                                                                            VP & Corporate Controller
    Date:                                                           Date:    ;7;.£. zt- 2.:::>/C'
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Per:
                  harwick M. Bayly, Provost &
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                   Executive Vice President
Date:



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Per:
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I                  Office of Business & Finance
Date:                 3/;.¥/I(J
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                                                          Page 22 of22
     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 24 of 60

                                        Schedule A

                    Embanet ULC- Wll'Shington State University
                        e-Learning Program Term Sheet

Upon execution by the parties, this a-Learning Program Term Sheet ("Term Sheet") will be
attached and form part of the a-Learning Program Master Services Agreement (the "Agreement")
between Embanet ULC ("Embanet") and Washington State University on behalf of its College of
Business (the "University"). In the event of any inconsistency between the terms and conditions
of the Term Sheet and the Agreemen~ the terms and conditions of this Term Sheet will prevail.

1.   a-Learning Program ("Proaram"l:    Executive Masters in Business .Administration


2.   Number of Courses in the Proaram: The following 14 Courses make up the Program
         a) Acctg 533           Managerial Accounting
           b) MIS 572            Business Intelligence and Decision Making
           c)   Fin 526          Financial Analyses
           d) MgtOps 593         Leadership and Conflict Management
           e) Mktg 506           Value and the Marketing Process
           f)   Mgt0ps590        Organizational and Marketing Strategy
           g) IBUS 580           International Business Management
           h) MgtOp 581          Managing Lean Businesses
           i)   MIS 580          Technology Management
           j)   MgtOp 588        Management of Innovation
           k)   Entrp 501        Business Plan Competition (6 credits)
           I)   Elective 1       3 credits
           m) Study Abroad       3 credits (or Elective 2)
           n)     BA 702         2 credits required in final term for final exam (business plan
                                 competition)



3.   Per credit hour tuition rate: $ 1,136.37 or such higher amount from time to time as may be
                                 set by the Universitv with in out from Einbanet. See Note 7 below.


4.   Entrv Points oer Year:   _y(p /2~~ /;:('.
5.   Course Length: 5 weeks.

6.   Total number of Proaram Courses anticipated to be developed:           14

7.   Total number of existing on-line Courses: 0




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     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 25 of 60
                                         Schedule A
8.    Number of Individual Courses to be delivered each year: No more than 20 individual courses
      will be delivered per year

9.    Total number of Course carousels: 2.3

10. Number of Courses being shared across concentrations: 0

11. Current Learning Management System !LMSl utilized if any: None


12. Learning Management System !LMSl that the e-learning program is to utilize initially for this
      Tenm Sheet: Angel (See Note 9 below.)

13. Course Development: The University shall deliver course Content to Embanet and Embanet
      will complete development of each Course and each Uodate of the Course on a mutually
      agreed upon schedule. See Note 6 below.

14. Course Development Fee: The purpose of the Course Development Fee, to be paid by
      Embanet to the University by deduction from Embanet's share of Gross Receipts, is to select
      Faculty to serve as Subject Matter Experts ("SME') for each Course and is a maximum of
      $10,000 (in.clusive of a 50% bonus opportunity) per Course during the first five years and
      $12,500 per Course during the second five years. The bonus portion of this fee will be paid
      out subject to mutually agreed timelines in accordance with section 6 of the Notes below.
      WSU may, not more than once every five (5) years, redevelop the Course Content to keep
      such Courses current, for which Embanet shall pay, in the same manner as set forth above, a
      Course Redevelopment Fee of the same amount ($10,000 per Course during the first five
      years, and $12,500 per Course for the second five years).

15. Instructor of Record Fee: The purpose of the Instructor of Record Fee, to be paid by
      Embanet to the University by deduction from Embanet's share of Gross Receipts, is to
      appoint a Faculty member to serve as the instructor of record for a Course of no more than
      300 students and is $12,000, to be increased by five percent (5%) each year thereafter. In
      the event that more than 300 students are enrolled in the Course, a second instructor of
      record will be appointed and Embanet will pay University for a second Instructor of Record
      Fee for the Course in the same manner as set forth above. In the event that there are less
     than 10 students enrolled for a Course, Embanet may at its discretion choose not to run a
     Course.


16. Facilitator Payment: Embanet shall pay University $2,000 for each Course facilitator
     employed by WSU during the first five years, and $2,500 during the second five years, by
     deduction from Embanet's share of Gross Receipts.            Course facilitators contracted by

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     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 26 of 60
                                        Schedule A
     Embanet will be paid directly by Embanet at the same rates. One facilitator will be appointed
     for every 20 students on average registered as of the Census Date.

 17. Financial aid to be made available to students <Yes/No\?      Yes

 18. Embanet's Duties:
     The following services shall be provided by Embanet to the Universitv. as applicable:
     <Yes/No/Ootionall·
       Functional Area                                Specific Service                       Yes/No
Academic                            Instructional Design & Course Development                 Yes
Academic                            Facilitator Recruitment                                   Yes
Academic                            Facilitator Management                                    Yes
Academic                            Faculty and Facilitator Training                          Yes
Marketing & Enrollment              Campaian Design                                           Yes
Marketing & Enrollment              Testing, Analysis and Optimization                        Yes
Marketing & Enrollment              Lead Generation                                           Yes
Marketing & Enrollment              Applicant Evaluation/Admissions                           Yes
Finance                             Tuition Billing & Collections                            Optional
Technology Services & Support       elearning Platform Selection and Implementation           Yes
Technology Services & Support       Tier 1 Data Center Hosting_                                No
Technology Services & Support       24n/365 Help Desk Support                                 Yes
Program Management/ Student         Training                                                  Yes
Services
Program Management/ Student         Facilitator Support                                        Yes
Services
Program Management/ Student         e-Learning Program Student Retention                       Yes
Services                            Management


Responsible Parties/Contact Information:
Embanet ULC                                       School: Washington State University
Name: Steve Flreng                                Name: Dave Sprott, Ph.D.
Title: CEO                                        Title: Associate Dean for Graduate,
                                                          International & Professional Programs
Address:                                          Address: College of Business
225 Sparks Avenue                                         P.O. Box 644750
Toronto, ON M2H 2S5                                       Pullman, WA 99164-4750
Canada

Phone: (416) 494-6622 x 2241                      Phone: (509) 335-6896



19. System Implementation Assistant. WSU will employ, and Embanet will pay $50,000 of the
salary and benefits associated with, an Assistant to facilitate program implementation for the first
year of both the EMBA and MBA e-Learning Programs. Future support of this position after the
first year will be negotiable and as agreed upon between Embanet and WSU.




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  Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 27 of 60
                                         Schedule A
 Service Fee/Business Model (Section 5.1 of the Agreement)
 Revenue Share Model




For the purposes of determining the Service Fee under all scenarios, the calculation is based on
a current census of the student population taken on the Census Date and for Business to
Business Students will be based on tuition revenue net of any mutually agreed discounts
provided.

Minimum Annual Revenue Target ("Target")
The Minimum Annual Revenue Targets for Gross Receipts to be retained by the University for
each Program are:

Ta-rget                                              Gross Receiots retained bv the University*
Year 4 of the   Procram                              $800,000
Year 5 of the   Proaram                              $1,000 000
Year 6 of the   Program                              $1,200,000
Year 7 of the   Proaram                              $1,400,000
Year 8 of the   Proaram                              $1 600,000
Year 9 of the   Proaram                              $1,800,000

* i.e; after paying Service Fees to Embanet.

The Targets referred to in the above table are minimum targets and will be measured within thirty
(30) days after the completion of each year of the Program for the twelve month period
immediately preceding. In the event that an annual Target of the Program has not been met, the
University may, within sixty (60) days of the end of that respective year, exercise its right at that
time to terminate the Program ("Termination Right") pursuant to section 8.2.3 of the Agreement. If
the target for any year thereafter has not been met, the University may, within sixty (60) days of
the end of that year, exercise its right to terminate the Program pursuant to section 8.2.3 of the
Agreement. If the University does not exercise its Termination Right during this time the
Termination Right for the applicable year will expire.


Executive Masters in Business Administration Exclusivity

The Parties recognize the competitive nature of the Executive Masters of Business Administration
("EMBA") program in the Washington State area and, as consideration for the University entering
into this Term Sheet, Embanet shall, during the Term of the Agreement, not provide the EMBA e-
Learning Program to the following institutions: ( 1) University of Washington, and (2) Eastern
Washington University. In addition, Embanet agrees to a two (2) year exclusivity for the State of
Washington for the Program. The two (2) years commence upon the execution of this Term
Sheet and remain for the duration of the Term Sheet.




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      Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 28 of 60

                                          Schedule A
                           Notes to the e-Learnlng Program Tenn Sheet

1.   For the purposes of determining the Service Fee, as set out in section 5.1 of the Agreement,
     Embanet applies the Service Fee/Business Model above on a Course by Course basis. The
     calculation is based on a current census of the student population taken on the Census Date.
     For example if, during a semester, Course 1 has 150 students and Course 2 has 150
     students, the revenue sharing is 75/25 for each Course. There is also no historical carry
     f01ward of previous student population sizes and when computing the sharing of revenue for
     a particular Course the count starts at zero. For example, .if Course 1 has 150 enrollments,
     revenue sharing is 75/25. If the same 150 students move on to Course 2 the following
     semester, and an additional 350 students also enroll in Course 2; total Course enrollment is
     500 with revenue sharing as follows: 200 students at 75/25, 100 students at 70/30, 100
     students at 65/35 and 100 students at 60/40.


2.   Upon receipt of a completed student application, the University shall process the application
     and communicate their decision to Embanet within five business days.


3.   University agrees that Embanet will notify the students of acceptance in the Program and will
     then proceed to work with the students to ensure they are registered in the required Courses.


4.   Embanet and the University will take a census of students enrolled on the Census Date. For
     e-Learning student tuition collected by the University, the University shall distribute to
     Embanet the above stated Service Fees no later than thirty days after the Census Date. For
     student tuition collected by Embanet, Embanet shall distribute the University its portion of the
     gross tuition no later than 30 days from the Census Date. Late payments will be subject to
     interest at the rate of 1.0% per month.


5.   Embanet's payment to University for applicable Instructor of Record and Course
     Development Fees and any applicable Facilitator Payments for facilitators employed directly
     by the University shall be deducted by University from Embanet's share of Gross Receipts.
     Within forty-five days after the end of each semester, either Embanet or the. University may
     conduct an audit at their own cost as to registered students in the Program, and adjust the
     Instructor and University employed Facilitator fees accordingly if the audit shows a different
     payment is necessary in accordance with this Term Sheet.


6.   Embanet will work with the key members in the Faculty to create a design and development
     schedule for the development of Courses, which will be added at a later date as "Schedule B"
     and fonn part of this e-Learning Program Term Sheet. Both the University and Embanet will
     work to achieve the defined timelines for the development of Courses. Should an SME not

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     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 29 of 60
                                          Schedule A

      meet the mutually agreed development schedule time deadline, Embanet will have no
      obligation to pay the University the applicable 50% bonus portion of the Course Development
      Fee, but Embanet may, at its discretion, make a partial or full exception. The University shall
      be responsible for any SME costs associated with updating the Courses after the initial
      Course development.


7. The tuition per credit rate is set out in this e-Learning Program Term Sheet; however, based
      on market research, University may implement a tuition rate revision with input from
      Embanet.


8.    Embanet shall forward the University the Standard Application Fee in accordance with
      section 4, above.


9.    Should the University change the Learning Management System ("LMS") platform(s) at any
      time during the Program Term and when Courses are in session, Embanet and the University
      agree that the cost of these migrations is not included in this Program Term Sheet and may
      negotiate a separate migration fee per Course, payable within 30 days of invoice.


10. To better understand and promote the University's core values and curricUlum, Embanet may
      at its discretion, allow its current employees to enroll and complete this Program and both the
      tuition and Standard Application Fees will be waived, and the Embanet employee(s) will not
      be counted in the tiering levels of the Service Fee/Business Model. To be admitted into the
      Program, Embanet employees must submit a student application and meet the entrance
      criteria of the University.


11. The University and Embanet will mutually agree to any tuition discounts offered to students
      employed by corporations enrolled in Embanet's business to business program and
      immediate family members of such persons.


12. The University may establish any tuition discounts offered by it to students enrolled through
      the University's business to business agreements. The University will forward copies of any
      executed business to business relationship contracts to Embanet within 30 days.


The parties herebyapprove this e-Learning Program Term Sheet.



                                                   WaZZj~
                                                   N    ' . Richard A. Heath
                                                      arne.   Sr. Associate Vice President
Title: VP & Corporate Controller                   Title:     Washington State University

Date:~....-c_/        ,?./ :;2.a/~                 Date:    5/li/10

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.-·         Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 30 of 60

                                                 Schedule B

                         Embanet ULC- Washington State University
                             e-Learning Program Term Sheet

      Upon execution by the parties, this a-Learning Program Term Sheet ("Term Sheet") will be
      attached and form part of the e-Leaming Program Master Services Agreement (the "Agreement")
      between Embanet ULC ("Embanet") and Washington State University on behalf of its College of
      Business (the "University"). In the event of any inconsistency between the terms and conditions
      of the Term Sheet and the Agreement, the terms and conditions of this Term Sheet will prevail.

      1. ·a-Learning Program ("Program"!:         Master in Business Administration

      2. Number of Courses in the        Program: The following 13 Courses make up the Program:
         a) Fin 526                       Problems in Financial Management
         b) Acctg 533                     Administrative Control
         c) MIS 580                       Information Systems Management
         d) MgtOps 593                    Managerial Leadership and Productivity
         e) MgtOps 591                    Statistical Analysis for Business Decisions
         f) Mktg 506                      Marketing Management and Administrative Policy
         g) MgtOps 590                    Strategy Formulation and Organizational Design
         h) HBM 581                       Services Management
         i) Entrp 501                     Business Plan Competition
         j) Elective I                    3 credits
         k) Elective II                   3 credits
         I) Elective Ill                  3 credits
         m) BA 702                        3 credits required in final term for final exam (business plan competition

      3. Per credit hour tuition rate:     $ 750 or such higher amount from time to time as may be set by
           the University with input from Embanet. See Note 5 below.

      4. Entrv Points per Year:   .Y<::, Jfcr,r/         ./7
      5. Total number of anticipated on-line Courses: 13

      6. Current Learning Management System ILMSl utilized if any: Angel (See Note 7 below.)


      7. ·Learning Management System ILMSl that the a-learning program is to utilize initially for this
           Term Sheet: Angel

      8.   Financial aid to be made available to students IYes/Nol?         Yes




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     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 31 of 60
                                          Schedule B


9.    Embanet's Duties. The following services shall be provided by Embanet to the University. as
      applicable !Yes/No/optional!:


       Functional Area                                  Soecific Service                   Yes/No
Academic                              Instructional Desian & Course Development              No
Academic                              Facilitator Recruitment                                No
Academic                              Facilitator Manaoement                                 No
Academic                              Facultv and Facilitator Trainino                       No
Marketina & Enrollment                Camoalan DesTcln                                      Yes
Marketina & Enrollment                TestiiiO, AnalYsis and Ootimization                   Yes
Marketino & Enrollment                Lead Generation                                       Yes
Marketino & Enrollment                Aoolicant Evaluation/Admissions                       Yes
Finance                               Tuition Billina & Collections                        Optional
Techno!OOV Services & Suooort         elearnino Platform Seleciion and Implementation        No
Technoloav Services & Support         Tier 1 Data Center Hostino                             No
Technoloov Services & Suoport         24/7/365 Help Desk Suoport                             No
Program ManagemenU Student            Training                                               No
Services
Program ManagemenU Student            Facilitator Support                                    No
Services
Program ManagemenU Student            e-Learning Program Student Retention                   Yes
Services                              Manaoement


Responsible Parties/Contact Information:
Embanet ULC                                         School: Washington State University
Name: Steve Fireng                                  Name: Dave Sprott, Ph.D.
Title: CEO                                          Title:  Associate Dean of Graduate,
                                                            International & Professional Programs
Address:                                            Address: College of Business
225 Sparks Avenue                                           P.O. Box 644750
Toronto, ON M2H 2S5                                         Pullman, WA 99164-4750
Canada

Phone: (416) 494-6622 x 2241                        Phane: (509) 335-6896




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     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 32 of 60
                                        Schedule B



Service Fee/Business Model (Section 5.1 of the Agreement)
Revenue Share Model for New Students

The revenue share table below applies to any new students.




Revenue Share Model for Existing Students

The revenue share table below applies to any currently-enrolled University students who are in
the existing on-line MBA offered by the University as of the effective date of the new E-Learning
MBA Program.




For the purposes of determining the Service Fee under all scenarios, the calculation is based on
a current census of the student population taken on the Census Date and for Business to
Business Students will be based on tuition revenue net of any discounts provided.



Minimum Annual Revenue Target ("Target")
The Minimum Annual Revenue Targets for Gross Receipts to be retained by the University for
each Program are:

Target                                                Gross Receipts retained by the University•
Year 4 of the   Program                               $800,000
Year 5 of the   Program                               $1,000,000
Year 6 of the   Program                               $1,200,000
Year 7 of the   Proaram                               $1,400,000
Year 8 of the   Program                               $1,600,000
Year 9 of the   Program                               $1,800,000

• i.e; after paying Service Fees to Embanet.

The Targets referred to in the above table are minimum targets and will be measured within thirty
(30) days after the completion of each year of the Program for the. twelve month period
immediately preceding. In the event that an annual Target of the Program has not been met, the
University may, within sixty (60) days of the end of that respective year, exercise its right at that
time to terminate the Program ("Termination Right") pursuant to section 8.2.3 of the Agreement. If
the target for any year thereafter has not been met, the University may, within sixty (60) days of
the end of that year, exercise its right to terminate the Program pursuant to section 8.2.3 of the


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      Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 33 of 60
                                            Schedule B

 Agreement. If the University does not exercise its Termination Right during this time the
 T-ennination Right for the applicable year will expire.



 Masters of Business Administration Exclusivity

 The Parties recognize the competitive nature of the Masters of Business Administration ("MBA")
 program in the Washington State area and, as consideration for the University entering into this
 Tenn Sheet, Embanet shall, during the Term of the Agreement, not provide the EMBA e-Learning
 Program to the following institutions: (1) University of Washington, and (2)·Eastern Washington
 University. In addition, Embanet agrees to a two (2) year exclusivity for the State of Washington
 for the Program. The two (2) years commence upon the execution of this Term Sheet and remain
 for the duration of the Term Sheet.



                             Notes to thee-Learning Program Term Sheet

· 1.   For the purposes of determining the Service Fee, as set out in section 5.1 of the Agreement,
       Embanet applies the Service Fee/Business Model above on a Course by Course basis. The
       calculation is based on a current census of the student population taken on the Census Date.
       The revenue sharing is 35/65 for each Course.

 2.    Upon receipt of a completed student application, the University shall process the application
       and communicate their decision to Embanet within five business days.

 3.    University agrees that Embanet will notify the students of acceptance in the Program and will
       then proceed to work with the students to ensure they are registered in the required Courses.

 4.    Embanet and the University will take a census of students enrolled on the Census Date. For
       e-Learning student tuition collected by the University, the University shall distribute to
       Embanet the above stated Service Fees no later than thirty days after the Census Date. Late
       payments will be subject to interest at the rate of 1.0% per month.


 5.    The tuition per credit rate is set out in this e-Learning Program Term Sheet; however, based
       on market research University may implement a tuition rate revision with input from Embanet.

 6.    Embanet shall forward the University the standard application fee, if any, in accordance with
       section 4, above.


 7.    Should the University change the Learning Management System ("LMS") platfonn(s) at any
       time during the Program Term and when Courses are in session, Embanet and the University
       agree that the cost of these migrations is not included in this Program Term Sheet and may
       negotiate a separate migration fee per Course, payable within 30 days of invoice.


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     Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 34 of 60
                                           Schedule B

8.   To better understand and promote the University's core values and curriculum, Embanet may
     at its discretion, allow its current employees to enroll and complete this Program and both the
     tuition and Standard Application Fees will be waived, and the Embanet employee(s) will not
     be counted in the tiering levels of the Service Fee/Business Model. To be admitted into the
     Program, Embanet employees must submit a student application and meet the entrance
     criteria of the University.


9.   The University and Embanet will mutually agree to any tuition discounts offered to students
     employed by corporations enrolled in Embanet's business to business program and
     immediate family members of such persons.


10. The University may establish any tuition discounts offered by it to students enrolled through
     the University's business to business agreements. The University will forward copies of any
     executed business to business relationship contracts to Embanet within 30 days.


The parties hereby approve this e-Learning Program Term Sheet.


EmbanetULC~                                       Was~n~:~~~
 £-~                                   -             /!?~~
Name: Philip Kim                                  Name: Richard A Heath
                                                            Sr. Associate Vice President
Title: VP and Corporate Controller                Title:    Washington State University

Date: ~ .....   c..,4 7/   .i!...0/0              Date:    3'/;d'/;o




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Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 35 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 36 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 37 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 38 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 39 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 40 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 41 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 42 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 43 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 44 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 45 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 46 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 47 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 48 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 49 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 50 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 51 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 52 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 53 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 54 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 55 of 60
       Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 56 of 60

                                                                            WSU CONTRACT# 18535




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                                       ADDENDUM TO

                           MASTER SERVICES AGREEMENT:

                                 STATEMENT OF WORK #1

        This Statement of Work #1 ("SOW") is entered into as ofthe date of last signature
indicated below ("Effective Date") by and between Embanet ULC ("Pearson Embanet") and
Washington State University, on behalf of its College of Business ("University") as an
addendum to and pursuant to thee-Learning Program Master Services Agreement between the
Pa11ies effective February 24,2010, identified by WSU Contract #18535, ("Agreement").

1.     Objectives.

       The objective of the engagement governed by this SOW is to conduct a quality assurance
review of courses offered by the University in its online Masters of Business Administration
program ("Online MBA Program Courses").

2.     Services.

       Pearson Embanet shall perform the services described on Schedule A hereto (collectively,
"Services"). The commencement of the Services shall be no later than June 15, 2014.

3.     Deliverables.

       Pearson Embanet shall provide the University with a report on its quality assurance
review of the Online MBA Program Courses within thirty five (30) business days of the
commencement of the Services ("Deliverables"). The Deliverables shall be a work made for
hire.

4.     University Obligations.

       University shall have the following obligations under this SOW:

       a.     University shall promptly provide Pearson Embanet course auditors with
              instructor access to the Online MBA Program Courses by June 15,2014.

       b.     University shall provide a single point of contact for troubleshooting
              issues/technical questions that may arise during the performance of the Services.

5.     Fees and Costs.

       University shall pay Pearson Embanet a total fee of$ 20,600 for the Services ("Service
Fee"). University shall pay 25% of the Service Fee within ten (10) days of the execution of this
SOW. The remaining 75% of the Service Fee shall be due upon completion of the Services.



PE-WSU SOW #1                                                                           Page I of3
       Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 57 of 60




       This Service Fee is based upon the assumption that all Audited Course content is located
within the University's Learning Management System, Angel ("LMS"). Additional fees shall
apply if Pearson Embanet course auditors must retrieve Audited Course content or information
from outside of the University's LMS.

6.     Additional Terms and Conditions.

      a.     Unless otherwise provided herein, capitalized tem1s in this SOW shall have the
same meaning as assigned to them in the Agreement.

       b.     This SOW shall be governed by the terms and conditions of the Agreement.

      c.      In the event of any conflict between the terms and conditions of this SOW and the
Agreement, the terms and conditions of this SOW shall prevail.

       d.      Notwithstanding anything in this Agreement to the contract, the access Pearson
Embanet auditors shall have to University's LMS shall be limited to the master courses as listed
in schedule A. In no event shall Pearson Embanet auditors have access to other University
systems or databases, nor to student information protected by law, including but not limited to
the Family Educational Rights and Privacy Act (FERPA) (20 U.S.C. § 1232g; 34 CFR Part 99).

       Wherefore, the Parties have entered into this SOW as of the Effective Date.

EmbanetULC                                          Washington State University

                                                    Recommended By:


By:                                                 By:       /}

Philip Kim                                          Da~
Vice President & Controller
Date:
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                                                                                 of Business
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PE-WSU SOW #1                                                                                    Page 2 of3
       Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 58 of 60




                                         Schedule A
                                          Services

Pearson Embanet shall perform the following Services:

   1. Audit of Masters of the following twenty (20) courses ("Audited Courses"):

       Course Code          Course Name
       BA600                Introduction to Business Statistics
       BA502                Foundations in Operations Management
       BA503                Foundations of Business Law
       Acctg 550            Introduction to Financial and Managerial Accounting
       BA501                Foundations in Marketing
       Econs 555            Managerial Economics
       BA504                Foundations in Finance
       Fin 526              Problems in Financial Management
       Mktg 506             Marketing Management and Administrative Policy
       Acctg 533            Administrative Control
       MgtOp 593            Managerial Leadership and Productivity
       MIS 580              Information Systems Management
       Mgt0p590             Strategy Formation and Organizational Design
       BA579                Special Projects or Independent Study (Capstone)
       BA579                Special Projects or Independent Study (Capstone)
       MIS 580              IS Mgmt
       Fin 581              Intl. Finance
       IBUS 580             Intl. Mgmt
       Mktg 507             Consumer Behavior
       Mktg 577             Promotional Mgmt.

   2. As used in this SOW, "audit" shall mean:
         a. An objective review of the presence or absence of items required in the Audited
             Courses as set forth in the "Guidelines and Best Practices MBA Online Courses,
             Spring 2014-Fall2014" document provided to Pearson Embanet by the College.
         b. A qualitative review of adherence to Best Practices as set forth in "Guidelines and
             Best Practices MBA Online Courses, Spring 2014-Fall 2014" document provided
             to Pearson Embanet by the College.

   3. The audit will be limited to content that can be accessed within the Learning
      Management System with Instructor level rights.




PE-WSU SOW #1                                                                        Page3 of3
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 59 of 60
Case 2:21-cv-00177-SRB Document 38-21 Filed 10/18/21 Page 60 of 60
